             Case 2:18-cr-00422-DJH Document 1582-1 Filed 05/09/23 Page 1 of 1




 1                              IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF ARIZONA
 2

 3
     United States of America,                     NO. CR-18-00422-PHX-SMB
 4
                              Plaintiff,           [PROPOSED] ORDER
 5   vs.
 6
     Michael Lacey, et al.,
 7
                         Defendants.
 8

 9

10           Upon Motion of the Defendant, with good cause appearing and with no objection
11   from the Government,
12           IT IS ORDERED granting Attorney Paul J. Cambria, Jr., leave to appear by
13   [phone/videoconferencing] at the May 22, 2023 Hearing in this matter.
14           IT IS FURTHER ORDERED that Attorney Paul J. Cambria, Jr. shall [call 602-
15   ______/log in to the Court’s videoconferencing system at www._______________] at
16   10:55 A.M. May 22, 2023.
17           SO ORDERED this _______ day of ___________, 2023.
18                                                   ___________________________
19                                                   United States District Judge
20

21

22

23

24

25

26

27

28
